


 



THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; 
  IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS 
  PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
The State,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Respondent,
      
    
  

v.

  
    
      
Joseph L. Simmons,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Appellant.
      
    
  


Appeal From Charleston County
Thomas L. Hughston, Jr., Circuit Court 
  Judge

Unpublished Opinion No. 2004-UP-403
Submitted April, 21, 2004  Filed June 
  22, 2004

APPEAL DISMISSED


  
    
      
Senior Assistant Appellate Defender Wanda P. Hagler, of Columbia, 
  for Appellant.
Attorney General Henry Dargan McMaster, Chief Deputy Attorney 
  General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, 
  all of Columbia; and Solicitor Ralph E. Hoisington, of Charleston, for Respondent.
      
    
  

PER CURIAM:&nbsp; Joseph L. Simmons (Appellant) 
  was convicted of two counts of shoplifting.&nbsp; He was sentenced to concurrent 
  terms of five years in prison, suspended upon the service of three years in 
  prison and two years probation on each charge. 
On appeal, counsel for Appellant has filed a final 
  brief along with a petition to be relieved as counsel.&nbsp; Appellant has not filed 
  a pro se response.&nbsp; After a thorough review of the record pursuant 
  to Anders v. California, 386 U.S. 738 (1967) and State v. Williams, 
  305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal and grant counsels 
  petition to be relieved.&nbsp; &nbsp;&nbsp;&nbsp;&nbsp; 
APPEAL DISMISSED. [1] 
GOOSLBY, HOWARD, and BEATTY, JJ., concur.

 
   
    [1] &nbsp; This case is decided without oral argument pursuant to Rule 215, 
    SCACR.


